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                       5

                       6                       UNITED STATES DISTRICT COURT
                                              EASTERN DISTRICT OF CALIFORNIA
                       7                              FRESNO DIVISION

                       8 UNITED STATES OF AMERICA,              CR 07-192- AWI

                       9               Plaintiff,               STIPULATION AND ORDER MODIFYING
                                                                DEFENDANT’S CONDITIONS OF
                      10         v.                             PRETRIAL RELEASE

                      11 DAVID CHAVEZ JR.,

                      12               Defendant.
                                                       /
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                      14

                      15         THE PARTIES HEREBY STIPULATE AND AGREE that the conditions

                      16 of pretrial release for defendant DAVID CHAVEZ, JR. shall be

                      17 modified TO VACATE the following condition:

                      18         The defendant shall undergo medical or psychiatric

                      19 treatment and/or remain in an institution, as follows: Including

                      20 treatment for drug/alcohol dependency, as approved by the

                      21 Pretrial Services Officer.

                      22         All other terms and conditions shall remain in full

                      23 effect.      Pretrial Services Officer Dan Stark has been consulted

                      24 and has agreed to this modification of pretrial release.

                      25

                  /s/ EAN VIZZI
                      26                                         /s/ KAREN ESCOBAR
               EAN VIZZI                                        KAREN ESCOBAR
            27 Attorney for Defendant                           Assistant United States Attorney
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                       1                                     ORDER

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                       3            IT IS SO ORDERED.

                       4 Dated:      February 24, 2009            /s/ Anthony W. Ishii
                           0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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